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                                            8                                 IN THE UNITED STATES DISTRICT COURT

                                            9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

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                                           11   UNITED STATES OF AMERICA,                                  Case No. 2:18-CR-00238-JAM
                                           12                    Plaintiff,                                ORDER GRANTING WAIVER OF
                                                                                                           DEFENDANT'S PRESENCE
               S ACRAMENTO , C ALIFORNIA




                                           13           v.
B ARTH D ALY LLP
                   A TTORNEYS A T L AW




                                           14   TIARRA JACKSON,
                                           15                    Defendants.

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                                                        Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, defendant, Tiarra
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                                                Jackson’s waiver of appearance is hereby approved.
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                                                Dated: 2/28/2019
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                                                                                                    /s/ John A. Mendez_____________
                                           23                                                       Honorable John A. Mendez
                                                                                                    United States District Court Judge
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                                                {00027664}
                                                [PROPOSED] ORDER GRANTING WAIVER OF DEFENDANT'S PRESENCE                          [Case No. 2:18-CR-00238-JAM]
